Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 1 of 10 PageID #: 2550




                           Exhibit 1
               Declaration of James A. Bowman
                      Filed Under Seal

    United States v. Alshahhi, et al., No. 1:21-cr-00371-BMC-TAM
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 2 of 10 PageID #: 2551




                           Exhibit 2
               Declaration of James A. Bowman


    United States v. Alshahhi, et al., No. 1:21-cr-00371-BMC-TAM
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 3 of 10 PageID #: 2552

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FOR IMMEDIATE RELEASE                                                                               Tuesday, July 20, 2021


   Former Advisor to Presidential Candidate Among Three Defendants Charged with
                     Acting as Agents of a Foreign Government

     Defendants Allegedly Acted and Conspired to Act at the Direction of Senior United Arab Emirates
         Officials to Influence a Presidential Campaign, Public Opinion and the U.S. Government


A seven-count indictment was unsealed today in a New York federal court relating to the defendants’ unlawful efforts to
advance the interests of the United Arab Emirates (UAE) in the United States at the direction of senior UAE officials by
influencing the foreign policy positions of the campaign of a candidate in the 2016 U.S. presidential election and,
subsequently, the foreign policy positions of the U.S. government in the incoming administration, as well as seeking to
influence public opinion in favor of UAE interests.

Thomas Joseph Barrack, 74, of Santa Monica, California; Matthew Grimes, 27, of Aspen, Colorado; and Rashid Sultan
Rashid Al Malik Alshahhi, aka Rashid Al Malik and Rashid Al‑Malik, 43, a UAE national, are accused of acting and
conspiring to act as agents of the UAE between April 2016 and April 2018. The indictment also charges Barrack with
obstruction of justice and making multiple false statements during a June 20, 2019, interview with federal law
enforcement agents.

“The defendants repeatedly capitalized on Barrack’s friendships and access to a candidate who was eventually elected
President, high-ranking campaign and government officials, and the American media to advance the policy goals of a
foreign government without disclosing their true allegiances,” said Acting Assistant Attorney General Mark Lesko of the
Justice Department’s National Security Division. “The conduct alleged in the indictment is nothing short of a betrayal of
those officials in the United States, including the former President. Through this indictment, we are putting everyone —
regardless of their wealth or perceived political power — on notice that the Department of Justice will enforce the
prohibition of this sort of undisclosed foreign influence.”

“As alleged, the defendants, using their positions of power and influence in a presidential election year, engaged in a
conspiracy to illegally advance and promote the interests of the United Arab Emirates in this country, in flagrant violation
of their obligation to notify the Attorney General of their activities and in derogation of the American people’s right to
know when a foreign government seeks to influence the policies of our government and our public opinion,” said Acting
U.S. Attorney Jacquelin M. Kasulis for the Eastern District of New York. “These arrests serve as a warning to those who
act at the direction of foreign governments without disclosing their actions, as well as those who seek to mislead
investigators about their actions, that they will be brought to justice and face the consequences.”

“Today’s indictment confirms the FBI’s unwavering commitment to rooting out those individuals who think they can
manipulate the system to the detriment of the United States and the American people,” said Assistant Director Calvin
Shivers of the FBI's Criminal Investigative Division. "Barrack is alleged to have abused his access to government
officials to illegally advance the interests of foreign governments. The FBI stands in concert with our external partners to
ensure all who seek to wield illegal influence are charged for their crimes.”
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 4 of 10 PageID #: 2553
“American citizens have a right to know when foreign governments, or their agents, are attempting to exert influence on
our government,” said Assistant Director in Charge William F. Sweeney Jr. of the FBI’s New York Field Office. “This is
especially important to Americans during a presidential election year, and the laws on the books were created to protect
our nation from such untoward influence. This case is about secret attempts to influence our highest officials, and when
that corrupt behavior was discovered, we allege Mr. Barrack went even further, obstructing and lying to FBI special
agents. In case it needs repeating, each of those bad choices is a federal felony, and each now comes with significant
consequences – the first being today’s indictment.”

According to court documents, between April and November 2016, Barrack served as an informal advisor to the
campaign of the candidate in the 2016 U.S. presidential election. Between November 2016 and January 2017, Barrack
served as Chairman of the Presidential Inaugural Committee. Beginning in January 2017, Barrack informally advised
senior U.S. government officials on issues related to U.S. foreign policy in the Middle East. Barrack also sought
appointment to a senior role in the U.S. government, including the role of Special Envoy to the Middle East. Barrack
served as the Executive Chairman of a global investment management firm headquartered in Los Angeles, and Grimes
was employed at the firm and reported directly to Barrack. During the relevant time period, Alshahhi worked as an agent
of the UAE and was in frequent contact with Barrack and Grimes, including numerous in-person meetings in the United
States and the UAE.

As alleged in the indictment, the defendants used Barrack’s status as a senior outside advisor to the campaign and,
subsequently, to senior U.S. government officials, to advance the interests of and provide intelligence to the UAE while
simultaneously failing to notify the Attorney General that their actions were taken at the direction of senior UAE officials.
Barrack – directly and through Alshahhi and Grimes – was regularly and repeatedly in contact with the senior leadership
of the UAE government. On multiple occasions, Barrack referred to Alshahhi as the UAE’s “secret weapon” to advance
its foreign policy agenda in the United States.

Barrack, Alshahhi and Grimes allegedly took numerous steps in the United States to advance the interests of the UAE.
For example, in May 2016, Barrack inserted language praising the UAE into a campaign speech to be delivered by the
candidate about U.S. energy policy in May 2016 and emailed an advance draft of the speech to Alshahhi for delivery to
senior UAE officials. Similarly, throughout 2016 and 2017, the defendants sought and received direction and feedback,
including talking points, from senior UAE officials in connection with national press appearances Barrack used to
promote the interests of the UAE. After one appearance in which Barrack repeatedly praised the UAE, Barrack emailed
Alshahhi, “I nailed it. . . for the home team,” referring to the UAE. Barrack and Grimes also solicited direction from
senior UAE officials in advance of the publication of an op-ed authored by Barrack and published in a national
magazine in October 2016 and removed certain language at the direction of senior UAE officials, as relayed by
Alshahhi.

Following the 2016 U.S. presidential election, the defendants repeatedly acted at the direction of UAE officials to
influence the foreign policy positions of the incoming administration in favor of UAE interests. For example, in
December 2016, Barrack attended a meeting with Grimes, Alshahhi and senior UAE government officials, during which
he advised them to create a “wish list” of U.S. foreign policy items that the UAE wanted accomplished in the first 100
days, six months, year and four years of the incoming administration of the U.S. President-elect.

In March 2017, Barrack and his co-defendants agreed to promote the candidacy of an individual favored by senior UAE
officials for the position of U.S. Ambassador to the UAE. In May 2017, Barrack agreed to provide Alshahhi with non-
public information about the views and reactions of senior U.S. government officials following a White House meeting
between senior U.S. officials and senior UAE officials.

In September 2017, Alshahhi communicated with Barrack about the opposition of the UAE to a proposed summit at
Camp David to address an ongoing dispute between the State of Qatar, the UAE and other Middle Eastern
governments, after which Barrack sought to advise the President of the United States against holding the Camp David
summit. The summit never happened.

In furtherance of the alleged criminal conspiracy and conduct, Barrack and Grimes, with the assistance of Alshahhi,
acquired a dedicated cellular telephone and installed a secure messaging application to facilitate Barrack’s
communications with senior UAE officials.
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 5 of 10 PageID #: 2554
Neither Alshahhi nor Barrack nor Grimes provided the required notification to the U.S. Attorney General that they were
acting in the United States as agents of a foreign government.

On June 20, 2019, Barrack voluntarily met with FBI special agents. During the interview, Barrack allegedly made
numerous false statements, including falsely denying that Alshahhi had ever requested that he take any actions on
behalf of the UAE.

Barrack and Grimes were arrested this morning and are scheduled to be arraigned this afternoon in the Central District
of California. Alshahhi remains at large.

Assistant U.S. Attorneys Nathan Reilly, Ryan Harris, Samuel Nitze and Hiral Mehta of the Eastern District of New York
and Trial Attorney Matthew McKenzie of the National Security Division’s Counterintelligence and Export Control are
prosecuting the case.

The charges in the indictment are allegations, and the defendants are presumed innocent unless and until proven guilty.


Attachment(s):
Download Barrack et al. Indictment

Topic(s):
Counterintelligence and Export Control
National Security

Component(s):
Federal Bureau of Investigation (FBI)
National Security Division (NSD)
USAO - New York, Eastern

Press Release Number:
21-670

                                                                                                  Updated July 20, 2021
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 6 of 10 PageID #: 2555




                           Exhibit 3
               Declaration of James A. Bowman


    United States v. Alshahhi, et al., No. 1:21-cr-00371-BMC-TAM
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 7 of 10 PageID #: 2556

                                                         U.S. Department of Justice


                                                         United States Attorney
                                                         Eastern District of New York
   SPN:HDM/RCH                                           271 Cadman Plaza East
   F. #2018R01309                                        Brooklyn, New York 11201


                                                         August 26, 2021

   By E-mail

   Matthew Herrington, Esq.
   Phara Guberman, Esq.
   Paul Hastings LLP
   2050 M Street NW
   Washington, D.C. 20036

                   Re:    United States v. Thomas J. Barrack, et al.
                          Criminal Docket No. 21-371 (BMC)

   Dear Counsel:

                    We write in response to your August 13, 2021 letter (“Def. Ltr.”) expressing
   concern that Acting Assistant Attorney General Mark Lesko’s statement in a July 20, 2021
   Department of Justice press release “may have extended beyond fair comment on the allegations
   in the indictment” and prejudiced “potential jurors,” thereby “affecting [the defendant’s] right to
   a fair trial.” See Def. Ltr. at 1-2. Specifically, you reference the following statement: “The
   conduct alleged in the indictment is nothing short of a betrayal of those officials in the United
   States, including the former President. Through this indictment, we are putting everyone—
   regardless of their wealth or perceived political power—on notice that the Department of Justice
   will enforce the prohibition of this sort of undisclosed foreign influence” (the “Lesko
   Statement”). See id. at 1. The government is well aware of its ethical obligations regarding
   public communications. The Lesko Statement does not violate those obligations, nor does it
   prejudice the defendant’s right to a fair trial.

                   Judge Irizarry’s recent decision in United States v. Woodberry, No. 20-CR-00031
   (DLI), 2021 WL 2716508 (E.D.N.Y. July 1, 2021) is instructive. In that case, the defendant
   moved to dismiss the indictment on the basis that statements made by the U.S. Attorney violated
   applicable pretrial publicity rules and compromised his right to a fair grand jury process. See id.
   at *1. Specifically, the defendant referenced statements by the government characterizing the
   series of charged robberies as an “unprecedented” “spree,” and a statement that “[n]o sound,
   rational, and fair criminal justice system requires the pre-trial release of criminal defendants who
   demonstrate such determination to continuously commit serious crimes.” See id. at *2.

                  Judge Irizarry denied the defendant’s motion. In doing so, Judge Irizarry
   concluded that any argument that the statements by the government violated the New York Rules
Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 8 of 10 PageID #: 2557




   of Professional Conduct were “immaterial to the motion before the Court,” as “[t]his is not a
   disciplinary proceeding and therefore the question of whether the U.S. Attorney’s extrajudicial
   remarks violated any ethical rules is not, per se, before the Court.” Woodberry, 2021 WL
   2716508, at *5 (internal quotation marks omitted). Judge Irizarry further rejected the
   defendant’s characterization of the statements of the government as “opining on the guilt,
   character and merits of the case” as “unsupported by the facts and circumstances present.” Id. at
   *6. Judge Irizarry held that a characterization of “six separate incidents of robberies or
   attempted robberies committed within a span of 16 days in the same city as a ‘spree’ or
   ‘unprecedented’ is neither unreasonable nor improper.” Id. at *6. Similarly, here, the Lesko
   Statement’s characterization of “the conduct alleged in the indictment,” which included
   “act[ing], and aid[ing] and abet[ting] one another in acting, in the United States, as agents of the
   United Arab Emirates” to “influenc[e] . . . the foreign policy positions of the United States
   government,” “obtain[] information about foreign policy positions and related decision-making
   within . . . the United States government,” “increase the United Arab Emirates’ political
   influence and . . . promote its foreign policy preferences,” see Dkt. No. 5 at 4, as a “betrayal” of
   U.S. government officials is “neither unreasonable nor improper,” 2021 WL 2716508, at *6.
   The Lesko Statement did not comment on the defendant’s guilt, but only “the conduct alleged in
   the indictment,” and, notably, the press release containing the Lesko Statement advised the
   public as to the presumption of innocence: “The charges in the indictment are allegations, and
   the defendants are presumed innocent unless and until proven guilty.” See also Woodberry,
   2021 WL 2716508, at *7 (“Notably, neither the Press Release nor Statement at issue here
   comments on Defendant’s guilt, but rather notes that Defendant is presumed innocent of all
   charges until proven guilty.”); see also United States v. Smith, 985 F. Supp. 2d 506 (S.D.N.Y.
   2013) (holding that the U.S. Attorney’s description of the charges in the case as representing an
   “unappetizing smorgasboard of graft and greed” and a “show me the money” culture of
   corruption did “not cross the line drawn by Rule 23.1 in the sense that they d[id] not, by
   themselves, constitute opinions as to the Defendants’ guilt, and are not otherwise the type of
   statements proscribed by the rule”).

                   Finally, Judge Irizarry noted in Woodberry that the defendant had “not shown any
   actual prejudice or substantial influence on the process” that would warrant any judicial relief.
   Id. at *6 (“[A]s a general matter, adverse pretrial publicity is not a sufficient ground to dismiss
   an indictment.”). Indeed, the two cases that you cite—Corbin and Smith—are not to the
   contrary. In United States v. Corbin, 620 F. Supp. 2d 400 (E.D.N.Y. 2009), the court held that
   statements by the U.S. Attorney and the Federal Bureau of Investigation in a press release such
   as “[t]he people rightly expect their elected representatives at all levels of government to behave
   honorably, or at a minimum, lawfully,” “[t]his defendant put self-interest above public service,”
   and “the defendant will be held to account,” were not prejudicial and had not compromised the
   case where the trial was “some six months or more from now,” especially “in light of the size of
   the jury pool in this huge district [the Eastern District of New York].” See 620 F. Supp. 2d at
   411-12. Similarly, in United States v. Smith, 985 F. Supp. 2d 506 (S.D.N.Y. 2013), the court
   held that “[d]efendants have not demonstrated, and, in fact, have not asked the Court to
   determine, that the statements at the press conference have ‘compromised this criminal
   proceeding and the future trial.’” See id. at 540.

                As in Corbin, any trial in this matter is several months away, if not longer, given
   the voluminous discovery, Classified Information Procedures Act issues, and the ongoing


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Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 9 of 10 PageID #: 2558




   COVID-19 pandemic. In fact, we have yet to have the first status conference in this case. Thus,
   in light of the applicable law, the Lesko Statement does not prejudice the defendant’s right to a
   fair trial. See Corbin, 620 F. Supp. 2d at 411-12.

                  Finally, as we have stated repeatedly already, we are aware of our disclosure
   obligations under Federal Rule of Criminal Procedure 16, Brady v. Maryland, 373 U.S. 83
   (1963), Giglio v. United States, 405 U.S. 150 (1972), and 18 U.S.C. § 3500 and will continue to
   comply with those obligations.

                    We are of course happy to confer telephonically if you would like to discuss this
   issue further.


                                                         Very truly yours,

                                                         JACQUELYN M. KASULIS
                                                         Acting United States Attorney

                                                  By:     /s/
                                                         Ryan C. Harris
                                                         Samuel P. Nitze
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Case 1:21-cr-00371-BMC-TAM Document 101-2 Filed 04/12/22 Page 10 of 10 PageID #:
                                    2559




                         Exhibit 4
             Declaration of James A. Bowman
                    Filed Under Seal

  United States v. Alshahhi, et al., No. 1:21-cr-00371-BMC-TAM
